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                                     The Florida Bar
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    Joshua E. Doyle                                                                 850/561-5600
   Executive Director                                                           www.FLORIDABAR.org

 State of Florida       )
 County of Leon         )                      In Re: 1034536
                                                      Elliot Omega Preston Jackson
                                                      Hedin LLP
                                                      1395 Brickell Ave
                                                      Miami, FL 33131-3353
I CERTIFY THE FOLLOWING:

I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on February 17, 2022.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 19th day of July, 2024.




Cynthia B. Jackson, CFO
Administration Division
The Florida Bar

PG:R10
CTM-295870
